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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 MARION S.A. TIPP,
                                                    *
        Plaintiff(s),
                                                    *
 vs.                                                    Civil Action No. 20-cv-00317-TFM-N
                                                    *
 JPMC SPECIALTY MORTGAGE, LLC,
 et al,

        Defendant(s).                               *


                                               ORDER

        On August 14, 2020, a motion for summary judgment under Fed.R.Civ.P.56 was filed by
 defendants Chase Home Finance, LLC, JP Morgan Chase Bank, NA and JPMC Specialty
 Mortgage, LLC (Doc. 12). Any party opposing the motion must respond in the manner set out
 in Rule 56 of the Federal Rules of Civil Procedure and S.D. Ala. CivLR 56 on or before
 September 11, 2020. (A copy of each rule is attached). If the moving party deems it
 necessary to reply to the brief filed in opposition to the motions, the reply brief must be filed on
 or before September 25, 2020.

         The court will take the motion under submission on the 25th day of September, 2020.
 Once the motion is taken under submission, no further submissions related to the issues raised
 may be filed unless the proponent obtains leave of court for good cause shown. The motion for
 summary judgment is being submitted without oral argument. Should the court determine that
 oral argument is necessary, a hearing date will be scheduled later. "Oral argument requests must
 contain specific reasons why oral argument would be helpful." S.D. Ala. CivLR 7(h).

                          NOTICE TO UNREPRESENTED PARTIES

         If any party is appearing without counsel (pro se), they are advised out of a height of
 caution that the granting of this motion would represent a final adjudication of the matters raised
 in the motion which may foreclose subsequent litigation on those matters. See McBride v.
 Sharpe, 25 F.3d 962, 968 (11th Cir. 1994) (en banc) cert. denied, 513 U.S. 990, 115 S. Ct. 489,
 130 L. Ed. 2d 401 (1994) (“Moreover, when a pro se litigant is involved, we have interpreted
 Rule 56(c) to require that the district court specifically inform the litigant (1) of the need to file
 affidavits or other responsive materials, and (2) of the consequences of default.”)
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   EXPLANATION OF SUMMARY JUDGMENT UNDER FEDERAL RULE OF CIVIL
                          PROCEDURE 56

         The summary judgment procedure established in Rule 56 provides a means of promptly
 disposing of cases without a trial where there is no genuine issue as to any material fact or where
 only a question of law is involved. Summary judgment goes to the merits of a claim, and, if
 granted, will be a final decision on any claim to which it was applicable. On the other hand, a
 denial of a motion for summary judgment is not a decision on the merits but is simply a finding
 that there is an issue which can be decided only after a trial. Of course, a motion for summary
 judgment which is denied may be renewed at a later time if justified by the facts of the case.

         The response of any party opposing the motion shall be filed within the time periods
 established herein. Any party opposing the motion has the right to file sworn affidavits,
 documentary evidence, other material opposing the motion, and a brief containing any legal
 arguments contrary to those presented by the party who filed the motion. The evidence
 submitted by the party who filed the motion may be accepted as the truth if not so contradicted.

        Affidavits either in support of or in opposition to a motion for summary judgment must
 meet the following conditions:

        (1) They must show that the person making the affidavit has personal knowledge
        of the matters about which he swears.

        (2) They must set forth facts which would be admissible in evidence.

        (3) They must affirmatively show that the person making the affidavit is
        competent to testify about the matters contained in his affidavit.

        (4) A certified or sworn copy of any papers or documents referred to in an
        affidavit must be attached to the affidavit.

        With permission of the court, affidavits may be supplemented, or opposed, by
 depositions, answers to interrogatories, or additional affidavits. It is important to note that,
 except in certain circumstances, a person against whom a motion for summary judgment is filed
 may not rely on the allegations of his pleadings. In other words, a plaintiff against whom a
 motion for summary judgment is filed must oppose that motion by affidavits, depositions,
 answers to interrogatories, admissions, or as otherwise provided in the rules. If a party against
 whom a motion for summary judgment is filed fails to respond, the materials filed by the moving
 party may be taken as true, and final judgment may be rendered in favor of the party who filed
 the motion, without a full trial.

         If a party against whom a motion for summary judgment is pending is unable to secure
 affidavits to oppose the motion, that party may file a motion fully explaining why such affidavits
 are unavailable and may request the court to consider his difficulty in disposing of the motion.
 If the court should find that any affidavit, either in support of or in opposition to, a motion for
 summary judgment was made in bad faith, the court shall order the party using a bad faith
 affidavit to pay to the other party his reasonable expenses, including attorney fees, incurred
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 because of the bad faith affidavit. In addition, the party using a bad faith affidavit may be
 adjudged guilty of contempt.

        DONE AND ORDERED this 17th day of August, 2020.


                                     s/KATHERINE P. NELSON
                                    UNITED STATES MAGISTRATE JUDGE
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                    FEDERAL RULE OF CIVIL PROCEDURE 56
                       (as amended effective Dec. 1, 2010)

(a) Motion for Summary Judgment or Partial Summary Judgment. A party may
move for summary judgment, identifying each claim or defense--or the part of each claim
or defense--on which summary judgment is sought. The court shall grant summary
judgment if the movant shows that there is no genuine dispute as to any material fact and
the movant is entitled to judgment as a matter of law. The court should state on the
record the reasons for granting or denying the motion.

(b) Time to File a Motion. Unless a different time is set by local rule or the court orders
otherwise, a party may file a motion for summary judgment at any time until 30 days
after the close of all discovery.

(c) Procedures.

      (1) Supporting Factual Positions. A party asserting that a fact cannot be
      or is genuinely disputed must support the assertion by:

         (A) citing to particular parts of materials in the record, including
         depositions, documents, electronically stored information, affidavits or
         declarations, stipulations (including those made for purposes of the
         motion only), admissions, interrogatory answers, or other materials;
         or

         (B) showing that the materials cited do not establish the absence or
         presence of a genuine dispute, or that an adverse party cannot
         produce admissible evidence to support the fact.

      (2) Objection That a Fact Is Not Supported by Admissible Evidence. A
      party may object that the material cited to support or dispute a fact cannot
      be presented in a form that would be admissible in evidence.

      (3) Materials Not Cited. The court need consider only the cited materials,
      but it may consider other materials in the record.

      (4) Affidavits or Declarations. An affidavit or declaration used to support
      or oppose a motion must be made on personal knowledge, set out facts that
      would be admissible in evidence, and show that the affiant or declarant is
      competent to testify on the matters stated.

(d) When Facts Are Unavailable to the Nonmovant. If a nonmovant shows by
affidavit or declaration that, for specified reasons, it cannot present facts essential to
justify its opposition, the court may:
       (1) defer considering the motion or deny it;

      (2) allow time to obtain affidavits or declarations or to take discovery; or

      (3) issue any other appropriate order.

(e) Failing to Properly Support or Address a Fact. If a party fails to properly support
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an assertion of fact or fails to properly address another party's assertion of fact as
required by Rule 56(c), the court may:

      (1) give an opportunity to properly support or address the fact;

      (2) consider the fact undisputed for purposes of the motion;

      (3) grant summary judgment if the motion and supporting
      materials--including the facts considered undisputed--show that the movant
      is entitled to it; or

      (4) issue any other appropriate order.

(f) Judgment Independent of the Motion. After giving notice and a reasonable time to
respond, the court may:

      (1) grant summary judgment for a nonmovant;

      (2) grant the motion on grounds not raised by a party; or

      (3) consider summary judgment on its own after identifying for the parties
      material facts that may not be genuinely in dispute.

(g) Failing to Grant All the Requested Relief. If the court does not grant all the relief
requested by the motion, it may enter an order stating any material fact--including an
item of damages or other relief--that is not genuinely in dispute and treating the fact as
established in the case.

(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or
declaration under this rule is submitted in bad faith or solely for delay, the court--after
notice and a reasonable time to respond--may order the submitting party to pay the other
party the reasonable expenses, including attorney's fees, it incurred as a result. An
offending party or attorney may also be held in contempt or subjected to other appropriate
sanctions.

S.D. Ala. CivLR 56: MOTIONS FOR SUMMARY JUDGEMENT

      Motions for summary judgment must comply with Fed. R. Civ. P. 56 and Civil Local
Rule 7. With the exception of Social Security reviews, other actions for review of
administrative agency decisions, and other actions in which a Judge relieves the parties of
this Rule’s requirements, the following additional requirements must be met:

        (a) Movant’s Supporting Materials. The movant must file a brief that includes:
(1) all facts relied upon, each supported by a specific, pinpoint citation to the record; and
(2) argument supported by legal authority as appropriate. The movant must also file all
evidence relied upon. A movant seeking affirmative relief other than, or in addition to,
monetary damages (such as declaratory or injunctive relief) must file a proposed
judgment (not order or opinion) granting such relief in the form sought by the movant. No
other supporting documents may be filed absent Court order.

      (b) Non-Movant’s Response. Unless the Court orders otherwise, the nonmovant
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must file any response in opposition to the motion within twenty-eight (28) days of service
of the motion. The non-movant’s brief must include: (1) all facts relied upon, each
supported by a specific, pinpoint citation to the record; (2) all challenges to the movant’s
asserted facts; and (3) argument supported by legal authority as appropriate. The
non-movant must also file all evidence relied upon. No other supporting documents may
be filed absent Court order.

      (c) Movant’s Reply. Unless the Court orders otherwise, any reply must be filed
within fourteen (14) days of service of the non-movant’s response.

      (d) Effect of Uncontroverted Facts. The Court will deem uncontroverted
material facts to be admitted solely for the purpose of deciding the motion for summary
judgment.

       (e) Stipulated Facts. Parties are encouraged to stipulate to facts. Facts so
stipulated do not require references to evidentiary support.

      (f) Modification of Provisions in Particular Cases. The Court may provide by
order or other notice to the parties that different or additional provisions regarding
summary judgment motion practice apply.
